INFORMA PAUPERIS AFFIDAVIT
FRANK \oaadc WALL

 

 

 

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FRANK T4Aac WALL ; AFFIDAVIT IN SUPPORT OF
Petitioner ; REQUEST TD PROCEED iN FormA
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Ul Case Ne:
WADES BORD Police DEPARTMENT,
ANSON COUNTY SHERIFFS DEPARTMENT
et al.
Defendank.

 

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7 Piaintiff iw the. above. — entitled case ; that in suPPert of my meten te Proceed

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that because of my Poverty | am unable. te Pay the Cost of aad PreceedinG ar
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AffinaviT ... To PRocern INFORMA Pact PERS PAGE 1 of 2
Case 3:23-cv-00106-MR Document 1-1 Filed 02/21/23 Page 1 of 6
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JULIE TUCKER ) NatarV¥ rouble
Notary Public, North Carolina

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Case 3:23-cv-00106-MR Document 1-1 Filed 02/21/23 Page 2 of 6
IN THE UNITED STATES DISTRICT CouRT
FoR THE DISTRICT OF NORTA CAROLINA

FRANK ZT. HAUL CASE No’ .

Plain ti fF.
ee SuMMONS

WADESBORO Police DEPARTMENT,
Anson Coun'TY SHER FES DEP-
ARTMENT ( And Several unn amed
officers at the time invelved in the
Shootin.) Suen in thear dividual
Anal ficial caPaaities ,
Defendants,

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To: Several unnamed officers at the time of the suk invelved in the shaotine, at all

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SUMMONS To! WanED BORO PolICE DEPARTMENT. face tof 2
Case 3:23-cv-00106-MR Document 1-1 Filed 02/21/23 Page 3 of 6
CERTIFICATE of SERVICE

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Ihe court and service uPon the Parties.

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JULIE TUCKER :
Notary Public, North Carolina

Catawba County .
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SuMMEBNS To: WADESDORG POLICE DEPARTMENT PARE 2 oF 2

Case 3:23-cv-00106-MR Document 1-1 Filed 02/21/23 Page 4 of 6
IN THE UNITED STATES DISTRICT CourRT
FoR THE DISTRICT CF NORTH CAROLINA

FRANK I. HALL CAaxE No:
Plaintiff, SUM MONG
v

WADESBORO Police DEPARTMENT.

ANgdn. COUNTY SHERIFFS DEPARTMENT.
(And Several Unnamect officers at the

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To: Several unnamed officers at the time of the suit invelved inthe sheoting at al hmea

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N.C. 28G81 . if You fail te do so. dudament by default wut be entered aaainst Yau for the relief
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Clerk af Court

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Case 3:23-cv-00106-MR Document 1-1 Filed 02/21/23 Page 5 of 6
CERTIFICATE cF SERVICE

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Court and Service uPon the Parties .

Dated this a of LY 2023.
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JULIE TUCKER
Notary Public, North Carolina

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SUMMONS “To: Anson County Sher ifPs DePartment Pace 2 cf 2

Case 3:23-cv-00106-MR Document 1-1 Filed 02/21/23 Page 6 of 6
